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                IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEW JERSEY
                          CAMDEN VICINAGE


  IN RE: VALSARTAN, LOSARTAN, AND                  No. 1:19-md-2875-RBK-KMW
  IRBESARTAN PRODUCTS LIABILITY                        Hon. Renée M. Bumb
  LITIGATION                                         Chief District Court Judge

  This document relates to:                           [PROPOSED] ORDER
  All Actions


       THIS MATTER having been opened to the Court by Defendant Zheijiang

 Huahai Pharmaceutical Co. Ltd. (“ZHP”) for an entry of an order vacating Special

 Master Order 97 [ECF 2701]. And the Court having considered the submissions of

 the Parties and having heard oral argument and for good cause shown:

       IT IS on this __ day of August 2024

       ORDERED that ZHP’s Motion is DENIED in its entirety.

                                                  _________________________
                                                  Hon. Renée M. Bumb
                                                  U.S. District Judge
